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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ATHENS DIVISION


UNITED STATES OF AMERICA,

v.                                                    CRIMINAL ACTION NO.
                                                      3:22-cr-00025-TES-CHW-3
LANEL CHAMBERS,

        Defendant.


                   ORDER GRANTING DEFENDANT’S MOTION
                TO CONTINUE TRIAL IN THE INTEREST OF JUSTICE



        Before the Court is Defendant Lanel Chambers’ Motion to Continue Trial in the

 Interest of Justice [Doc. 237]. On October 11, 2022, the Grand Jury returned a multi-

 defendant, multi-count indictment charging Defendant Lanel Chambers with one count

 of Conspiracy to Distribute and to Possess with Intent to Distribute Heroin and

 Fentanyl. [Doc. 1]. On January 20, 2023, Defendant was arrested. On February 7, 2023,

 Defendant pled not guilty at his arraignment and was detained pending trial. [Doc.

 111]; [Doc. 112].

        On February 14, 2023, the Court granted Defendant’s Motion to Continue [Doc.

 119] and continued this case for the first time until the April 3, 2023, trial term. [Doc.

 121]. On March 8, 2023, the Court held a pretrial conference, found that additional time

 was needed in this case to prepare for trial, and continued this case for the second time

 until the June 12, 2023, trial term. [Doc. 155]. On April 28, 2023, the Court issued an
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Order [Doc. 188] declaring this case complex due to the voluminous discovery,

consisting of countless recordings, investigation reports, crime lab reports, and other

electronic and tangible evidence. On June 22, 2023, the Court granted a Joint Motion for

Continuance [Doc. 198] and continued this case for the third time until the February 26,

2024, trial term. [Doc. 200]. In the same Order, the Court scheduled a pretrial conference

for January 10, 2024. Id.

       Defendant asks the Court to continue this case for a fourth time because his

attorney “is lead counsel for the Defendant in State of Georgia v. Quamarvious

Nichols, Case No. 22SC183572, which commenced trial on January 4, 2023, . . . began

opening statements and calling witnesses on November 27, 2023, and is anticipated to

last an additional 4-6 months.” [Doc. 237, pp. 1–2]. Because Defendant’s “counsel is

unavailable to appear at the pretrial conference and trial before this Court as they are

set” and “no other associate admitted before this Court is available to appear,”

Defendant requests that the Court continue his trial to a later term and “exclude the

time pursuant to the provisions of the Speedy Trial Act.” [Doc. 237, p. 2].

       “The Government does not object to a continuance.” [Doc. 237, p. 2].

       The Court finds that granting Defendant’s request serves the ends of justice. The

Court further finds that the ends of justice served by granting Defendant’s request

outweigh the interests of Defendant and the public in a speedy trial. Failure to grant a

continuance would create a conflict whereby Defendant’s counsel would be unavailable



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to represent him.

       Thus, the Court GRANTS Defendant’s Motion [Doc. 237] and CONTINUES the

Pretrial Conference until March 12, 2024, and the trial of this matter until April 22, 2024.

The delay occasioned by this continuance shall be deemed excludable pursuant to the

provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and 3161(h)(7)(B)(iv).

       SO ORDERED, this 3rd day of January, 2024.

                                          S/ Tilman E. Self, III___________________
                                          TILMAN E. SELF, III, JUDGE
                                          UNITED STATES DISTRICT COURT




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